                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                     AT NASHVILLE

IN RE: CUMMINGS MANOOKIAN, PLLC,                    )
                                                    )
     Debtor                                         )
                                                    )
BRIAN MANOOKIAN,                                    )
                                                    )
     Appellant                                      )
                                                    )
v.                                                  )       Case No: 3:24-cv-00209
                                                    )       Judge Trauger
JEANNE ANN BURTON, TRUSTEE,                         )
                                                    )
        Appellee.                                   )


                        MOTION TO STAY BRIEFING SCHEDULE



        Comes now Jeanne Ann Burton, Trustee and Appellee in this matter (the “Trustee”),

pursuant to Federal Rule of Bankruptcy Procedure 8013 and Local Rule 7.1, by and through

undersigned counsel, and hereby moves this Court to suspend the briefing schedule in this case

pending a decision by this Court on the Trustee’s motion to dismiss this untimely appeal (Doc. 4).

        Currently, Appellant’s opening brief is due on March 27, 2024, and Appellee’s brief is due

within thirty days after service of Appellant’s brief. This appeal challenges two orders of the

Bankruptcy Court: the Order Finding Brian Manookian Lacks Standing to Object to the Trustee’s

Motion for Compromise and Settlement (Bankr. Doc. 205) and the Order Granting Trustee’s

Motion to Approve Compromise and Settlement (Bankr. Doc. 206), both of which were entered

on February 8, 2024 in Bankruptcy Case No. 3:19-bk-07235, In re Cummings Manookian, PLLC.

Fifteen (15) days later, on February 23, 2024, Appellant filed a Notice of Appeal in this action.

(Bankr. Doc. 213).



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       On March 18, 2024, the Trustee filed a Motion to Dismiss Untimely Appeal (Doc. 4) (the

“Motion to Dismiss”), asserting that because Appellant filed his notice of appeal late, this Court

lacks jurisdiction to consider the merits of his appeal. If the Motion to Dismiss is granted, this

Court will not consider the merits of this appeal, thus conserving the parties’ and judicial resources.

If the Motion to Dismiss is denied, the parties will be able to brief the merits of the appeal. Thus,

a short suspension of the briefing schedule to allow the Court to consider the Motion to Dismiss

will not prejudice any party.

       Accordingly, for good cause shown, the Trustee requests that under Fed. R. Bankr. P.

8013(a)(1) and Local Rule 7.1 the briefing schedule in this appeal be suspended until after the

Court decides the merits of the pending Motion to Dismiss.

       WHEREFORE, for these reasons, the Trustee respectfully requests that this Court enter an

order suspending the briefing schedule in this appeal and granting such other and further relief as

the Court deems equitable and appropriate under the circumstances.

       DATED: March 18, 2024


                                               Respectfully submitted,


                                               /s/ Phillip G. Young, Jr.
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                                               Special Counsel to Jeanne Ann Burton, Trustee




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                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and exact copy of the foregoing has been sent to all parties
requesting notice via CM/ECF Electronic Filing on the 18th day of March, 2024.



                                            /s/ Phillip G. Young, Jr.




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